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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

         REPLY IN SUPPORT OF MOTION IN LIMINE PRECLUDING
    EVIDENCE OR ARGUMENT REGARDING ATTACK ON THE U.S. CAPITOL

       Defendant Stephen K. Bannon, by and through his undersigned counsel, hereby files this

Reply In Support Of Motion In Limine Precluding Evidence Or Argument Regarding Attack On

The U.S. Capitol [Doc. 84], and in support thereof states as follows:

       We moved to exclude in limine the following information:

       testimony, argument, documents, photos, videos, and audio recordings that detail or
       depict the substantive events of the January 6, 2021, attack on the U.S. Capitol.

[Doc. 84 at 2]. The Government responds that it “has no intention of introducing evidence” that

includes “images and detailed descriptions of various assaults carried out during the attack.”

[Doc. 91 at 2].

       Accordingly, the Defendant’s Motion In Limine should be granted as conceded.




                                     (Signature block on next page)
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Dated: July 8, 2022          Respectfully submitted,

                             SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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                             Counsel for Defendant Stephen K. Bannon




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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of July 2022, a copy of the foregoing Reply In

Support Of Motion In Limine Precluding Evidence Or Argument Regarding Attack On The U.S.

Capitol was served via the Court’s CM/ECF system on registered parties and counsel.



                                              /s/ M. Evan Corcoran
                                           M. Evan Corcoran (D.C. Bar No. 440027)




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